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                   EXHIBIT E

        Plaintiff’s Motion for an Award of Attorneys’ Fees and Costs

   Citizens for Ethics and Responsibility in Washington v. Dep’t of Justice,
                           Civ. No. 11-0374 (CRC)
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY AND                           )
ETHICS IN WASHINGTON,                                     )
                                                          )
                     Plaintiff,                           )
                                                          )
              v.                                          )     Civ. No. 11-0754 (GK)
                                                          )
U.S. DEPARTMENT OF JUSTICE,                               )
                                                          )
                     Defendant.                           )
                                                          )

                   DECLARATION OF MICHAEL KAVANAUGH

       I, Michael Kavanaugh, submit this Declaration pursuant to 28 U.S.C. § 1746.

1.     I am over the age of twenty-one, suffer no legal disability and am competent to

       make this Declaration. The statements made in this Declaration are true and

       correct and based on my personal knowledge.

2.     I am an economist in private practice at 19-4231 Road E, PO Box 1228, Volcano

       Hawaii, 96785.

3.     I hold a Ph.D. in economics from the University of Cincinnati (1975) and a BA in

       economics from Xavier University (1970). I have taught economics at the

       University of Cincinnati and at Northern Kentucky University. For over 35 years,

       I have worked as an economist for a variety of clients including the U.S.

       Department of Justice, the U.S. Environmental Protection Agency, the U.S.

       Department of the Interior, the States of Ohio, California, and Alaska, citizen

       groups, and private industry. I have been qualified as an expert in Federal court
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           in financial and economic matters many times. Attachment 1 is a copy of my

           resume with a listing of federal testimony and all publications in the last 10 years.

4.         A Laffey Matrix has been used for over twenty years as one measure to determine

           appropriate fee awards for litigation between the Federal government and private

           parties in areas where the law provides for an award of fees; to narrow the

           differences in disputes among private parties over the reasonableness of fee

           awards; and to inform and assist Courts who may have to settle these differences.

5.         A Laffey Matrix -- a sample of billing rates1 taken at Washington D.C., area firms

           where complex litigation is likely to be performed -- if it is correctly updated, will

           provide prevailing hourly billing rates for complex litigation. The billing rates

           will be reported by categories that reflect differing levels of legal experience. 2

6.         Updated Laffey matrices are useful. They are simple. They can ward off a second

           major litigation over fee awards. They save the resources needed to sample the

           prevailing billing rates for every fee application.

7.         As a matter of economics, a Laffey matrix based on a previous sample of billing

           rates can provide the current market billing rate if the sampled rates are properly

           adjusted for the time that has passed between the date of the initial sample and the

           present. The key questions to an economist are what sample of billing rates should

           be used and by what price index should the sample be adjusted.

8.         I favor adjusting the 1989 sample of legal services billing rates by using a price

           index that is specific to legal services. The 1989 sample was drawn in response to

1
    Billing rates are the price at which the service is sold.
2
 The labor categories are: (1) attorney with more than 20 years of experience; (2) attorney with 11 to 19
years of experience; (3) attorney with 8 to 10 years of experience; (4) attorney with 4 to 7 years of
experience; (5) attorney with 1 to 3 years of experience, and; (6) paralegal or law clerk.
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         the remand decision in Save Our Cumberland Mountains v. Hodel.3 The price

         index is the legal services index (LSI) constructed by the U.S. Department of

         Labor, Bureau of Labor Statistics.

9.       The United States Department of Justice, Office of the U.S. Attorney for the

         District of Columbia (DOJ), on the other hand, updates a sample of 1982 legal

         services billing rates using a regional consumer price index that combines the

         price changes of over a hundred thousand diverse commodities into a single

         measure.

10.      A brief description of the samples of billing rates is as follows. The plaintiffs in

         Laffey v. Northwest Airlines, Inc.,4 collected information on the hourly billing

         rates charged to fee-paying clients in 1981-1982 by attorneys engaged in complex

         federal litigation and created a composite of those rates which has become known

         as the Laffey matrix. The 1981-1982 Laffey matrix was updated to 1988-1989

         rates with a new survey in connection with the Save Our Cumberland Mountains

         v. Hodel, 857 F.2d 1516 (D.C. Cir. 1988)(en banc) litigation at the urging of the

         D.C. Circuit. The method used to find the 1989 rates is described in the

         declaration of Joseph Yablonski submitted in the case of Broderick v. Ruder, D.C.

         Civil No. 86-1824 (D.D.C.) (Pratt, J.).



3
  The documentation used to find the 1989 rates is described in the declaration of Joseph Yablonski
submitted in the case of Broderick v. Ruder, D.C. Civ. No. 86-1824 (Pratt, J.). This documentation is
recognized as an appropriate means to update the observed Laffey rates. See, e.g., Salazar v. The District of
Columbia, 123 F. Supp. 2d at 13, citing, Sexcius v. District of Columbia, 839 F.Supp. 919, 924
(D.D.C.1993); Trout v. Ball, 705 F.Supp. 705, 709, n. 10 (D.D.C.1989) (expressly approving use of
Yablonski declaration from the Broderick case as an exhibit in support of fee petition) and; Palmer v.
Barry, 704 F.Supp. 296, 298 (D.D.C.1989).
4
 572 F. Supp. 354 (D.D.C. 1983), affirmed in part, reversed in part on other grounds, 746 F.2d 4 (D.C. Cir.
1984), cert. denied, 472 U.S. 1021 (1985), overruled in part on other grounds,
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11.     As discussed in more detail below, indices such as the LSI or the All-Items

        Regional CPI sample the prices of certain goods and service and create an index.

        This allows a calculation of a rate of price change over various time intervals for

        the products and services represented by the sample. Once the rates of price

        change are established they may be used to make statements about changes in the

        cost of living or to adjust past market prices to estimate prevailing market prices.

12.     The first time I offered an opinion on the appropriate method for adjusting the

        Laffey matrix to present time was in a 1996 affidavit that the plaintiffs submitted

        in Salazar v. District of Columbia, 123 F. Supp. 2d 8 (D.D.C. 2000), in support of

        their first application for attorneys’ fees. A copy of that affidavit is attached as

        Attachment 2.     I opined that using the LSI was the appropriate method for

        updating a Laffey matrix because it focused on the market for legal services rather

        than the cost of living and therefore was likely to be the better predictor of

        prevailing (market) rates. The Court explicitly adopted my analysis in its decision.

        See Salazar v. District of Columbia, 123 F. Supp. 2d 8 (D.D.C. 2000). I continue

        to hold the opinions expressed in that affidavit.

13.     Since then, I have prepared declarations/affidavits on the same topic in several

        other cases. Although I do not maintain a complete list of all my work, I do know

        my analysis was adopted in the cases of Salazar v. District of Columbia, 750 F.

        Supp. 2d 70 (D.D.C. 2011) Case 1:93-cv-00452-GK Document 1680 Filed

        01/04/11; Interfaith Community Organization v. Honeywell, 336 F.Supp.2d 370

        (D.N.J. 2004), affirmed, 426 F. 3d 694 (3d Cir. 2005), PIRG v. Magnesium

        Elecktron, Inc., 1995 WL 866983, *2, 10 (D.N.J. Dec. 28, 1995), vacated on other
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         grounds, 123 F.3d 111 (3d Cir. 1997); Hash et al., v. United States of America

         Case 1:99-cv-00324-MHW Document 270 Memorandum decision and Order

         (filed 04/13/12);. and United States of America ex rel. Robert Baker v. Community

         Health. Proposed finding and Court Order, Case 1:05-cv-00279-WJ-ACT

         Document 594 (August 9, 2013).

14.      Plaintiff’s counsel asked me to explain why the approach I favor of adjusting the

         1989 Laffey sample by the Legal Services Index (LSI) is a better estimator of the

         market prices for providing complex legal services than the DOJ approach of

         applying a Consumer Price Index for metropolitan Washington, D.C., 5 (“All-

         Items Regional CPI”) 6 to the 1983 sample;                    My opinions are stated to a

         reasonable degree of certainty under the standards of my profession.

15.      There are three ways to distinguish between each approach. They are: (1) the

         specific goods and services included in each price index, (2) the characterization

         of the market in the provision of complex legal services, and (3) the age of the

         sample of rates.

16.      All-item consumer price indices, including the All-Items Regional CPI that DOJ

         uses, combine the price changes of over one hundred thousand commodities into

5
 Prior to 1998, the index included the District of Columbia, Montgomery County, MD; Prince George's
County, MD; Alexandria city, VA; Arlington County, VA Fairfax County, VA Falls Church city, VA.

Since 1998, the index includes all of the areas in the older index and adds: Baltimore City and the counties
of Anne Arundel, Baltimore, Calvert, Carroll, Charles, Frederick, Harford, Howard, Queen Anne’s, and
Washington in Maryland; the cities of Fredericksburg, Manassas, and Manassas Park and the counties of
Clarke, Fauquier, King George, Loudoun, Prince William, Rappahannock, Spotsylvania, Stafford, and
Warren in Virginia; and the counties of Berkeley and Jefferson in West Virginia. See
http://www.bls.gov/ro3/cpiwb.htm and
http://www.census.gov/population/www/metroareas/lists/historical/60mfips.txt

6
 Both the LSI and the All-Items Regional CPI are maintained by the U.S. Department of Labor, Bureau of
Labor Statistics (BLS).
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         a single index value to measure of the rate of price change in the overall cost of

         living for consumers.          For example, the 2012 CPI for all urban consumers

         contains a legal services component, which accounts for less than .293% (.00293)

         of the total spending represented in the CPI.7 Thus, 99.997% of the spending

         reflected in the 2012 CPI is for items other than legal services. The component

         representing food and beverage prices accounts for about 15% (.15) of the total

         2012 CPI. If legal billing rates were updated using this CPI, this would give fifty

         times more weight to food markets than to the legal services market. These same

         percentages apply to the All-Items Regional CPI.

17.      In contrast, the LSI measures the fees charged for providing specific legal

         services. These services include preparing a brief, attending a deposition and

         representing parties in civil proceedings, which are services provided in complex

         federal litigation. Just as a national CPI does not and cannot include every item in

         the U.S. economy, the LSI does not and cannot include the fees charged for every

         possible service rendered by lawyers.               The size and complexity of the U.S.

         economy and the practice of law makes impossible the inclusion of every good or

         service in an index.

18.      It is my opinion that the use of an index specific to legal services is more likely to

         reflect the rate of change in prevailing billing rates for legal services than a

         general consumer price index. A general CPI -- whether national or regional --

         includes items that are not relevant to the market for legal services. These other

         items are given much more weight than legal services. So when an All-Items CPI

7
  See ftp://ftp.bls.gov/pub/special.requests/cpi/cpiri2012.txt. 2012 is the most recent year for which BLS
reports its relative component analysis.
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        is applied to the billing rates in the Laffey matrix, it obfuscates the rate of price

        change of legal services.

19.     Economists try to use the most specific index available. This helps them make a

        more accurate assessment of the market forces that influence prices. The specific

        components of the CPI, such as the LSI, to the extent they are available, are the

        better resource to update an industry's prices than the general CPI. This is because

        there are two strong forces that exert pressure on prices over time. One is inflation,

        a rise in the general price level; the other is a supply and demand imbalance.

        Often for a specific good or service, supply and demand imbalances are the

        stronger of the two and can accentuate or negate the general effects of inflation on

        a particular price (e.g. billing rates for legal services). If a broad index is used to

        adjust an industry’s prices over time, then the specific supply and demand effects

        are suppressed and only the effect of inflation is captured. On the other hand,

        when a specific index is used, the net effect of both inflation and supply and

        demand imbalances is captured. This is why it is preferable, and more accurate, to

        use a specific index rather than a broad index.

20.     Market imbalances negating inflation may be seen in the market for electrical

        components and parts (e.g., computers) over the last thirty years. Due to strong

        advances in productivity in this industry, computer prices have declined while

        prices generally have increased due to inflation.

21.      Market imbalances accentuating inflation may be seen in the market for motor

        fuels. From Nov-2002 to Nov-2012, fuel prices increased within the Washington

        D.C., area on average by 9% per year while all items increased by 2.9% per year.
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        Thus, if the all-items data were used to update a sample of fuel costs from 2002 to

        2012, the procedure would materially underestimate the change. If, for example,

        motor fuel in November 2002 cost $1 per gallon, use of the CPI would estimate

        its cost at $1.33 in 2012 while the specific index for motor fuel would result in an

        estimate of $2.37 in 2012. The difference is an increase of $1.04 or about 78%

        higher than the CPI estimate.

22.     A second reason for using the approach I favor is that it more accurately reflects

        the conditions of competition for complex litigation. In my opinion the market

        for legal services in complex federal litigation is a national market and not a local

        market. This is because mobility and low-cost communication combine to make a

        national market for legal services in complex litigation. Washington, D.C., area

        law firms compete with law firms in other areas such as New York, Philadelphia,

        Chicago, Dallas, and San Francisco. Once access to world-class libraries was

        essential to a successful scientific or legal research, today reference materials are

        readily available online and can be accessed anywhere. Once it took at least a day

        to move a custom-made document more than five hundred miles, now a document

        can move five thousand miles in seconds. Resource mobility and low-cost

        communication, then, combine to make the market for legal services in complex

        litigation a national market.

23.     A third reason why the way I adjust Laffey rates is superior to the DOJ method is

        because the DOJ method applies a general index to 1982 observations; I apply a

        specific legal services index to the most recent survey of rates developed in 1989

        in response to the remand decision in Save Our Cumberland Mountains v. Hodel.
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         In general, the more contemporary the observation, the less possibility exists for

         forecasting error. The Laffey update that I have constructed, then, is more likely to

         be a more accurate estimate of current rates because it utilizes the more recent

         observations, whereas the DOJ version uses an older survey.

24.      I updated the 1989 Laffey Matrix as follows. First, I obtained monthly data for the

         legal service component of the CPI maintained by the Bureau of Labor Statistics

         of the U.S. Department of Labor and computed the annual change measured at

         mid year. Second, I applied the annual change to the 1989 Laffey matrix rates for

         each labor category to produce an hourly rate for each of the six labor categories

         for each year since 1989. The results for June 1, 2010 to May 31, 2012 are shown

         below. The complete matrix is attached as Attachment 3.

         Years      June 2010 to June 2011 to
         from Law May 2011       May 2012
         School
         20 +            709         734
         11 to 19        588         609
         8 to 10         522         540
         4 to 7          361         374
         1 to 3          294         305
         Paralegal/      160         166
         LawClerk


         In my opinion these rates better reflect prevailing market rates during the relevant

         period than do DOJ’s estimates. This is because the rates I offer begin with a

         more recent survey and are adjusted by an index that is focused only on the price

         of legal services.

25.      The estimated prevailing billing rates in the table above are not a simple average

         of all billing rates of all law firms in an area or the nation; but are instead
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        estimated prevailing billing rates for law firms that are providing legal services in

        a particular market.   The particular market consists of the rates charged paying

        customers for providing complex legal services.         The presumption     is that the

        firms that are charging and receiving these rates are selling skills comparable to

        those skills needed to effectively represent civil and constitutional rights.


Executed on this 11th day of December 2013.

        I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




Attachments
    1. 2013 Kavanaugh resume
    2. 1996 Kavanaugh declaration in Salazar
    3. 2013 Adjusted Laffey Matrix
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Attachment 1
                          MICHAEL KAVANAUGH
                           Research Economist
                           Phone: 808 985 7031
                        E-mail: M.Kavanaugh@att.net

                                P.O. Box 1228
                               19-4231 Road E
                            Volcano, Hawaii 96785

PRESENT POSITION: Private Practice since 1985

PREVIOUS POSITIONS:
  • Senior Economist, ICF Incorporated, 1983-85, Washington, D.C.
  • Research Director, Public Interest Economics, 1976-1983, Washington,
     D.C. and San Francisco, CA.
  • Assistant Professor, Northern Kentucky University, 1975-76

EDUCATION:
  • PhD., Economics, University of Cincinnati, 1975
  • BA. Economics, Xavier University, 1970

EXPERIENCE
  • An independent research economist with years of experience;
  • A national expert in the economic aspects of environmental
     enforcement and policies for controlling pollution;
  • Experienced in regional economic analysis;
  • Experienced in the use of economic indices;
  • Experienced in valuing damages to persons, households, and
     commercial enterprises;
  • Experienced in assessing natural resource damages; and,
  • An author of groundwater management and climate change papers.

Short descriptions of selected projects follow.

ECONOMICS & FINANCE
I applied economics to many of the environmental changes of the last thirty
years including:
   • Estimating the ability of defendants to pay a penalty and the financial
       effects of penalties in enforcement cases;
   • Estimating the benefits of cleaner beaches and rivers;
   • Developing methods to determine the effects of water quality policies
       on agricultural output, employment and income;
   • Developing methods to estimate the benefits of preserving
       groundwater quality;
   • Advised on the adequacy of financial assurance mechanisms;
   • Estimating expected and realized benefits of irrigation projects; and,
   • Critiquing efforts to regulate effluents from several industries.


                                       1
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Designed and used financial after-tax, cash flow models to:
   • Measure the ability to pay a penalty and the effects of penalties on
      financial position;
   • Estimate the benefit gained by entities that violate law and regulation;
      and,
   • Estimate the burden on the residential sector from municipal
      compliance with law and regulation.

Provided expert economic and litigation support services to the United States
(and others) in Clean Water Act, Clean Air Act, Superfund, RCRA and
groundwater quality cases.

Exxon Valdez – Estimated the employment and income effects from spending
the civil settlement. The work involved characterizing the options in the
restoration plan in term of input/output models.

Natural resource damage assessments

   •   Ohio River – valued public resource damages from spills from tugs and
       barges. The work combined results from Natural Resource Damage
       Assessment models, studies of the costs of reducing risks to drinking
       water, and restoration costs.
   •   Kailua Beach State Park – valued a three-mile beach based on
       recreational use and estimated the damage from wastewater
       treatment plant effluent. The work involved reviewing, updating and
       synthesizing a variety of studies that valued recreation.
   •   Florida Beaches – valued beach closures from pollution at several
       beaches. The work involved extensive use of the Natural Resource
       Damage Assessment models for coastal and marine environments.

Energy & Environment

   •   Conducted several analyses of U.S. energy industry to estimate
       current and future production in wetlands and in the artic.
   •   Commented on economic impacts to employment and structures of
       planned, utility-scale photovoltaic projects in Southern California.
   •   Estimated consequences of oil and gas leasing in the North Aleutian
       Basin.
   •   Estimated the cost effectiveness of technologies to control produced
       water discharges in wetlands,
   •   Estimated the impact of produced water controls on production,
       royalties and returns from coal bed methane production.
   •   Estimated the change in rates needed to pay for adopting cooling
       water intake controls at a nuclear power plant.
   •   Advised environmental groups on methods to fund the WV acid mine
       drainage reclamation fund.
   •   Design team member to size and fund the Superfund.


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   •   Estimated onshore economic impacts of outer continental shelf oil and
       gas development in California
   •   Examined the efficiency and equity of federal leasing policies for oil
       and gas on public lands

Global Climate

   •   Estimated current and future greenhouse gas emissions by fuel, sector
       and region. The work involved estimating long-term energy using an
       economic model based on prices, income and combustion technology.
   •   Estimated greenhouse gas emissions by jets at altitude by region and
       the change in emissions from adopting advanced jet technology.
   •   Modeled current and future emission from the US automobile fleet
       under various assumptions about future fuel efficiency.
   •   Analyzed the benefits of substituting hydrocarbon propellants for CFC
       propellants in aerosol products. The results showed the same level of
       consumer satisfaction could be obtained without CFCs and without
       increasing prices.

PUBLICATIONS in last 10 years

none

Federal Court Trial Testimony Since 1/09

American Canoe Association, Inc., et al. v. Louisa Water and Sewer
Commission – Ashland KY. 7/2009, 01-cv-00099-ART

Ohio Valley Environmental Coalition, et al. v. Apogee Coal Company LLC –
Huntington WV. 8/2010, 3:07-cv-00413-RCC

Deposition Testimony since 1/08

New Jersey Municipal Authorities et al. v. Honeywell International et al.
(9/09) 05-5955 DMC

Ohio Valley Environmental Coalition, et al. v. Apogee Coal Company LLC–
(8/10) 3:07-cv-00413-RCC

Ohio Valley Environmental Coalition, et al. v. Massey Energy (4/11) 3:07-cv-
00836-RCC

Ohio Valley Environmental Coalition, et al. v. Arch Coal (5/11)

San Francisco Baykeeper v. West Bay Sanitation (7/11)




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Attachment 3
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Adjusted Laffey Matrix
                                                 Years Out of Law School
Year                     Adjustment Paralegal/
                         Factor     Law Clerk     1-3     4-7    8-10      11-19   20+

   6/1/13      5/31/14      1.0244         175      320    393     567       640    771
   6/1/12      5/31/13      1.0258         170      312    383     554       625    753
   6/1/11      5/31/12      1.0352         166      305    374     540       609    734
   6/1/10      5/31/11      1.0337         160      294    361     522       588    709
   6/1/09      5/31/10      1.0220         155      285    349     505       569    686
   6/1/08      5/31/09      1.0399         152      279    342     494       557    671
   6/1/07      5/31/08      1.0516         146      268    329     475       536    645
   6/1/06      5/31/07      1.0256         139      255    313     451       509    614
   6/1/05      5/31/06      1.0427         135      248    305     440       497    598
   6/1/04      5/31/05      1.0455         130      238    292     422       476    574
   6/1/03      5/31/04      1.0507         124      228    280     404       456    549
   6/1/02      5/31/03      1.0727         118      217    266     384       434    522
   6/1/01      5/31/02      1.0407         110      202    248     358       404    487
   6/1/00      5/31/01      1.0529         106      194    238     344       388    468
   6/1/99      5/31/00      1.0491         101      184    226     327       369    444
   6/1/98      5/31/99      1.0439          96      176    216     312       352    424
   6/1/97      5/31/98      1.0419          92      168    207     299       337    406
   6/1/96      5/31/97      1.0396          88      162    198     287       323    389
   6/1/95      5/31/96      1.0320          85      155    191     276       311    375
   6/1/94      5/31/95      1.0237          82      151    185     267       301    363
   6/1/93      5/31/94      1.0552          80      147    181     261       294    355
   6/1/92      5/31/93      1.0511          76      139    171     247       279    336
   6/1/91      5/30/92      1.0445          72      133    163     235       265    320
   6/1/90      5/31/91      1.0794          69      127    156     225       254    306
   6/1/89      5/31/90      1.0700          64      118    144     209       235    284
   6/1/88      5/31/89                      60      110    135     195       220    265
